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        IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF PUERTO RICO


        IN RE                                              BANKRUPTCY 21-00066 ESL

        LIZETTE ALEJANDRO PEÑA                             CHAPTER 7
        SSN: xxx-xx-8838
        Debtor


            WITHDRAWING COUNSEL MOTION FOR LEAVE TO AMEND RULE 2016
         STATEMENT & REQUEST EXTENSION OF TIME TO FURTHER ADDRESS doc #28
      TO THE HONORABLE COURT:

             COMES NOW withdrawing counsel who respectfully moves this Honorable Court for
      leave to amend her Rule 2016 Statement and for allowance of 21 days to further address docket
      #28, as follows:

         1. At docket #28 the standing chapter 7 trustee, Ms. Noreen Wiscovitch has moved the Court
             for the disgorgement of
             March 15, 2021.
         2. Withdrawing counsel requests additional time to address the unreasonable and unsupported
             conclusions raised by the trustee, but today we nevertheless, seek leave to file an amended
             Rule 2016 Statement prior to addressing the allegations by this trustee.
         3. This attorney was paid her fee in full prior to filing of the bankruptcy case.
         4. The Rule 2016 filed with the voluntary petition was filed in error. The undersigned did not
             realize the inadvertent error until Ms. Wiscovitch raised her issues.
         5. The Rule 2016 form used in this case was filed inadvertently and the information contained
             therein was also in error. The form erroneously used and filed with the case is the form
             the software automatically provides, unless the alternate form is substituted and applied in
             the processing and preparation of the case, substitution which was inadvertently not made
             in this case.
         6. In this case, the debtor retained us at a $2,000 deposit and at $275 per hour and she paid us
             this amount prior to the filing of her case. The $50 required by Local Rule as a deposit to
             qualify for the right to pay the filing fee in installments was reduced from the $2,000
             received by the undersigned.


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          7. As Ms. Wiscovitch correctly informs, in the Statement of Financial Affairs, the amount
               received was correctly included, at $1,950 [$2,000 less the $50 paid to the Court for
               payment of the filing fee in installments].
          8. Additionally, in Schedule A/B the fact of prior payment of fees is also referenced in relation
               to the balance in                                      on the filing date of January 17, 2021 was
               disclosed as the net balance after checks in transit. 1 One of these checks in transit was
               #131 which was paid to counsel on January 14, 2021 in the amount of $1,000, in addition
               to two ATHMovil transfers of $500 each on January 11 and 15, 2021, for a total paid in
               attorney fees of $2,000. Evidence of such payment and transactions as reflected in
               counsel s business account with BPPR is attached as Exhibit #1.
          9. The undersigned hesitates to provide a Sworn Statement from the debtor since she is now
               represented by substitute counsel.
          10. Leave is sought to amend the Rule 2015 with the evidence of the full $2,000 paid prior to
               the filing of the voluntary chapter 7 case.

               WHEREFORE withdrawing counsel respectfully prays for leave to file the amended Rule
      2015 Statement on this same date and respectfully requests allowance of 21 days to further address
      the motion at doc #28 filed by the trustee, or on or before April 19, 2021.

                                                           NOTICE

               Within twenty-one (21) days after service as evidenced by the certification, and an
      additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party
      against whom this paper has been served, or any other party to the action who objects to the relief
      sought herein, shall serve and file an objection or other appropriate response to this paper with the


      response is filed within the time allowed herein, the paper will be deemed unopposed and may be
      granted unless: (I) the requested relief is forbidden by law; (ii) the requested relief is against public
      policy; or (iii) in the opinion of the Court, the interest of justice requires otherwise.




      1
       Item #19 of Schedule A/B reads as follows in relation to BPPR account Checking Acct #2671 BPPR Direct deposit
      Salary. Checks in transit #128 & #129 & other transactions in transit at petition date have been reduced to reach true
      balance as of petition date

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             I HEREBY CERTIFY, that on this same date, I electronically filed the foregoing with the
      Clerk of the Court using the CM/ECF Filing System which will send a notification, upon
      information and belief, of such filing to the Chapter 7 Trustee and to all subscribed users.

             RESPECTFULLY SUBMITTED,
             In Caguas, Puerto Rico, this 29th day of March, 2021.

                                                    /s/
                                                    LYSSETTE A. MORALES VIDAL
                                                    USDC PR #120011

                                                    L. A. MORALES & ASSOCIATES P.S.C.
                                                    URB VILLA BLANCA
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                                                        Exhibit #1
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